 

Case 1:19-mc-00136-UNA Document 10 Filed 05/06/20 Page 1 of 1

SENDER: COMPLETE THIS SECTION a Oe

 

: =
@ Complete items 1, 2, and 3. A. Signat
@ Print your name and address on the reverse C1 Agent

so that we can return the card to you. ¥E Accronaee
ll Attach this card to the back of the mailpiece, wy, Recgived by Bifo beus Z Data of Del

or on the front if space permits. 6001 2/25 a

 

 

1. Article Addressed to:
Wade A. Robertson
P.O. Box 20185
Stanford, CA 94309

9590 9402 4908 9032 9645 94

YG
I 2s Ly

 

D. Ma nt address different from item i as Yes
\f YES, eriter delivery address below: OO No

 

 

3. Service Type

D Adult Signature

CO Adult Signature Restricted Delivery
D Certifled Mali®

O Certifled Mail Restricted Dellvery
10 Collect on Delivery

 

O Priority Mall Express®

D Registered Mall™
Registered Mall Restricted
Dallvery S

O Return Receipt for
Merchandise

 
